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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN DIVISION

BRIAN G. HOLTKAMP,
Plaintiff,
V.
MOZILLA FOUNDATION,
Defendant.

Case No. 8:24-cv-01285-JWH-
ADSx

PROOF OF SERVICE

Judge: Hon. John W. Holcomb
Magistrate Judge: Hon. Autumn D.
Spaeth

Courtroom: 9D

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I am a resident of the State of California, over the age of eighteen years, and
not a party to the within action. I am an employee of the legal services provider
First Legal. One of my business addresses is 1517 W Beverly Boulevard, Los
Angeles, CA 90026. On July 23, 2024, I served the within documents on the
Plaintiff, at the direction of counsel for Mozilla Foundation:

1. Defendant Mozilla Foundation’s Motion To Dismiss; Memorandum Of
Points And Authorities In Support Thereof;

2. Declaration Of Chris K. Ridder In Support Of Defendant Mozilla
Foundation’s Motion To Dismiss The Complaint

3. [Proposed] Order On Defendant Mozilla Foundation’s Motion To
Dismiss The Complaint;

4. Defendant Mozilla Foundation’s Certification And Notice Of Interested
Parties.

BY FIRST CLASS U.S. MAIL. I hereby certify that on July 23, 2024, I
placed the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in the U.S. Mail in the State of California, addressed as set forth

below:
Brian G. Holtkamp
2624 Freeman Lane
Santa Ana, CA 92706

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on July 23, 2024.

Signed: Pe

Printname: b|, a

-l-

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